               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
              CRIMINAL CASE NO. 1:13-cr-00043-MR-DLH



UNITED STATES OF AMERICA,       )
                                )
                    Plaintiff,  )
                                )
                                )
               vs.              )                     ORDER
                                )
                                )
(4) ALBERT TOMES;               )
(5) TINA TOMES; and             )
(6) KEVIN VICKERS,              )
                                )
                    Defendants. )
_______________________________ )


       THIS MATTER is before the Court on the Motion to Suppress filed by

Defendant Tina Tomes and adopted by Defendants Albert Tomes and

Kevin Vickers [Doc. 59]; the Magistrate Judge’s Memorandum and

Recommendation regarding that motion [Doc. 124]; and Defendant Tina

Tomes’s Objections to the Memorandum and Recommendation [Doc. 127].

I.    PROCEDURAL HISTORY

        On June 19, 2013, the above-referenced Defendants were charged

along with others in a 12-count Bill of Indictment with, inter alia, conspiracy

to distribute and possess with intent to distribute a quantity of a mixture and


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substance containing a detectable amount of “synthetic cathinones” or a-

PVP, a Schedule I controlled substance analogue, knowing that the

substance was intended for human consumption, in violation of 21 U.S.C.

§§ 846 and 841(a)(1). [Doc. 3]. A Superseding Bill of Indictment was filed

on December 19, 2013, adding additional charges against these

Defendants. [Doc. 106]. The Defendants are currently scheduled for trial

during the March 3, 2014 trial term.

        On August 7, 2013, Defendant Tina Tomes filed a motion to suppress

all evidence obtained through searches of her business, residence, and

shed.     [Doc. 59].   After receiving an extension of time to do so, the

Government filed its Response in opposition to the Motion on September 9,

2013. [Doc. 86]. Defendants Albert Tomes and Kevin Vickers moved to

join in the suppression motion [Docs. 83, 85], which the Court allowed

[Docs. 89, 90].

        On December 5, 2013, the Honorable David C. Keesler, United

States Magistrate Judge, conducted an evidentiary hearing on the motion

to suppress.      On January 10, 2014, the Magistrate Judge issued a

Memorandum and Recommendation, recommending that the motion to

suppress be denied.      [Doc. 124].       Defendant Tina Tomes timely filed




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Objections to the Memorandum and Recommendation on January 26,

2014. [Doc. 127].

         This matter is now ripe for review.

II.      STANDARD OF REVIEW

         A district court may refer a motion to suppress to a magistrate judge

for a recommendation pursuant to Rule 59(b)(1) of the Federal Rules of

Criminal Procedure.        The Court must consider any objection to the

magistrate judge’s recommendation de novo. Fed. R. Crim. P. 59(b)(3).

         In order “to preserve for appeal an issue in a magistrate judge’s

report, a party must object to the finding or recommendation on that issue

with sufficient specificity so as reasonably to alert the district court of the

true ground for the objection.” United States v. Midgette, 478 F.3d 616,

622 (4th Cir. 2007). The Court need not conduct a de novo review where a

party makes only “general and conclusory objections that do not direct the

court to a specific error in the magistrate’s proposed findings and

recommendations.” Orpiano v. Johnson, 687 F.2d 44, 47 (4th Cir. 1982).

III.     FACTUAL BACKGROUND

         The Defendants make no objection to the factual background as

recited      by   the    Magistrate     Judge    in    the    Memorandum         and

Recommendation. Upon careful examination of the record, the Court finds


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that the Magistrate Judge’s findings of fact as set forth in pages 6 through

10 of the Memorandum and Recommendation are correct and deserving of

adoption by this Court.         These findings are therefore adopted and

incorporated herein.

IV.     DISCUSSION

        In her first objection to the Memorandum and Recommendation,

Defendant Tina Tomes contends that the Magistrate Judge erred in

concluding that the information presented in the warrant applications

provided probable cause to believe that a-PVP “is, in fact, contraband or

evidence of a criminal offense.” [Id.].1

        Having reviewed the search warrant applications, the Court agrees

with the Magistrate Judge that the officers presented sufficient information

for the Magistrate Judge to conclude that there was probable cause to

believe that a search of the Defendant’s business, residence, and shed

would result in the discovery of a controlled substance analogue,

specifically, a-PVP. To the extent that the Defendant questions whether

the item searched for was “in fact” a controlled substance analogue is an

issue more properly addressed at trial, where the Government will have the

burden of proving beyond a reasonable doubt that the substance at issue is
1
 The Defendant concedes, for the purpose of this motion only, that a-PVP was sold in
her store. [See Doc. 127 at 2].

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a controlled substance analogue as charged in the Indictment.                      The

Defendant’s first objection is therefore overruled.

      In her second objection, the Defendant argues that even if this Court

were to find that the agent supplied sufficient probable cause to believe that

distributing a-PVP is a violation of the Controlled Substances Act, the

application still provided insufficient probable cause to search the

Defendant’s home and shed.         In making this objection, the Defendant

simply restates her argument as set forth in her original motion to suppress.

      The Defendant’s conclusory objection does not warrant a de novo

review of the Magistrate Judge’s reasoning.             See Aldrich v. Bock, 327

F.Supp.2d 743, 747 (E.D. Mich. 2004) (“A general objection, or one that

merely restates the arguments previously presented is not sufficient to alert

the court to alleged errors on the part of the magistrate judge.                      An

‘objection’ that does nothing more than state a disagreement with a

magistrate’s suggested resolution, or simply summarizes what has been

presented before, is not an ‘objection’ as that term is used in this context.”).

Having    reviewed    the   Magistrate       Judge’s     proposed       findings   and

conclusions, the Court concurs with the Magistrate Judge’s conclusion that

the search of the Defendant’s residence and shed was supported by

probable cause. The Defendant’s second objection is also overruled.


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VI.     CONCLUSION

        For the reasons stated herein, the Court concludes that the

Magistrate Judge’s findings of fact are correct and that his conclusions of

law are consistent with current law. Accordingly, the Court overrules the

Defendant’s Objections to the Memorandum and Recommendation and

hereby accepts the Magistrate Judge’s recommendation that the motion to

suppress be denied.



                                  ORDER

        IT IS, THEREFORE, ORDERED that Defendant Tina Tomes’s

Objections to the Memorandum and Recommendation [Doc. 127] are

OVERRULED; the Magistrate Judge’s Memorandum and Recommendation

[Doc. 124] is ACCEPTED; and the Motion to Suppress [Doc. 59] is

DENIED.

        IT IS SO ORDERED.            Signed: February 10, 2014




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